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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


 SYNKLOUD TECHNOLOGIES, LLC,

                Plaintiff,

        v.                                                 Civil Action No. 19-1360-RGA

 HP INC.,

                Defendant.




                                             ORDER

       For the reasons stated in the accompanying memorandum opinion, IT IS HEREBY

ORDERED that Defendant’s Motion to Dismiss (D.I. 17) is GRANTED in part and DENIED

in part. Claims 1 to 74 of the ‘590 patent, Claims 1 to 10 of the ‘526 patent, and Claims 1 to 8 of

the ‘254 patent are invalid for claiming patent-ineligible subject matter. Counts 1, 2, and 4 of

Plaintiff’s Amended Complaint (D.I. 15), to the extent they are based on those claims, are

DISMISSED with prejudice.


                                                     Entered this 28th day of September, 2020.



                                                     /s/ Richard G. Andrews_____
                                                     United States District Judge
